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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 SID MILLER, et al., on behalf of      §
 themselves and others similarly situated,
                                       §
                                       §
        Plaintiffs,                    §
                                       §
 v.                                    §                 Civil Action No. 4:21-cv-0595-O
                                       §
 TOM VILSACK, in his official capacity §
 as Secretary of Agriculture,          §
                                       §
        Defendant,                     §
                                       §
 FEDERATION OF SOUTHERN                §
 COOPERATIVES/LAND ASSISTANCE §
 FUND; NATIONAL BLACK FARMERS §
 ASSOCIATION (NBFA);                   §
 ASSOCIATION OF AMERICAN               §
 INDIAN FARMERS (AAIF),                §
                                       §
        Intervenor Defendants.         §

                                            ORDER

       Before the Court is the Federation’s Unopposed Motion to Stay Summary Judgment

Response Deadline (ECF No. 231), filed August 10, 2022. The Federation requests that the Court

stay the summary judgment response deadline in light of the Senate passing the Inflation Reduction

Act of 2022, H.R. 5376. The Court GRANTS the motion and ORDERS that the response briefs

are due August 22, 2022.

       SO ORDERED on this 10th day of August, 2022.


                                                 _____________________________________
                                                 Reed O’Connor
                                                 UNITED STATES DISTRICT JUDGE
